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Attorneys for Ackerman
McQueen, Inc.
                  IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

IN RE:                                          §           CHAPTER 11
                                                §
NATIONAL RIFLE ASSOCIATION                      §           Case No. 21-30085-hdh-11
OF AMERICA and SEA GIRT LLC                     §
                                                §
       DEBTORS.                                 §           JOINTLY ADMINISTERED

 ACKERMAN MCQUEEN, INC.’S OBJECTION TO DEBTORS’ APPLICATION FOR
 ENTRY OF ORDER PURSUANT TO SECTIONS 105(A), 327(E), 329 AND 1107(B) OF
THE BANKRUPTCY CODE AUTHORIZING AND APPROVING THE EMPLOYMENT
   AND RETENTION EFFECTIVE AS OF THE PETITION DATE OF BREWER,
 ATTORNEYS & COUNSELORS AS SPECIAL COUNSEL FOR THE DEBTORS AND
         DEBTORS IN POSSESSION [ECF 84] AND JOINDER IN THE
            UNITED STATES TRUSTEE’S OBJECTION [ECF 166]

       Ackerman McQueen, Inc. (“AMc”), by and through its undersigned counsel, hereby files

this Objection to Debtors’ Application for Entry of Order pursuant to Sections 105(a), 327(e), 329,

and 1107(b) of the Bankruptcy Code Authorizing and Approving the Employment and Retention

Effective as of the Petition Date of Brewer Attorneys & Counselors as Special Counsel for the

Debtors and Debtors in Possession [ECF 84] (“the Brewer Application”) and Joinder in the



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United States Trustee’ Objection to the Brewer Application [ECF 166] (the “Joinder” to the

“Objection”). AMc hereby objects to the Brewer Application, joins in the arguments and relief

set forth in the Objection, and reserves all rights to offer further objections and evidence to the

employment and retention of Brewer Attorneys & Counselors, including the presentation of

arguments and evidence at the hearing on the Brewer Application.

        WHEREFORE, AMc respectfully requests that this Court deny the Application of Brewer,

Attorneys & Counselors and grant any other such further relief as the Court deems appropriate and

just.

Dated: February 19, 2021                             Respectfully submitted,

                                                     /s/ G. Michael Gruber
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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was electronically
served via the Court’s electronic case filing system upon all counsel of record on this 19th day of
February 2021.


                                                     G. Michael Gruber
                                                     G. Michael Gruber




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TRUSTEE’S OBJECTION TO THE BREWER APPLICATION                                               PAGE 3
